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 9   Attorneys for Plaintiff Drew Hill
10                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF CALIFORNIA
11
12   DREW HILL,                                          )       Case No.: '12CV0307 WQHJMA
                                                         )
13                       Plaintiff,                      )
                                                         )
14             vs.                                       )       COMPLAINT
                                                         )
15   ALLIED INTERNATIONAL CREDIT                         )       DEMAND FOR JURY TRIAL
     CORPORATION                                         )
16                                                       )
                                                         )
17                       Defendant.                      )
                                                         )
18                                                       )
19
20                                                INTRODUCTION

21              1.      This is an action for actual damages, statutory damages, attorney fees and costs
22   brought by an individual consumer, Drew Hill, (hereinafter APlaintiff@) for Allied International
23   Credit Corporation (hereinafter “Allied ” and/or “Defendant”) violations of the Fair Debt
24   Collection Practices Act, 15 U.S.C. § 1692, et seq. (hereinafter “FDCPA”) 1 the Rosenthal Fair
25   Debt Collection Practices Act, California Civil Code § 1788 et seq. (hereinafter “the Rosenthal
26   ///
27
     1
28       All undesignated section references to §1692 are to the FDCPA

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                                                        COMPLAINT
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 1              2.       Act”) 2 which prohibit debt collectors from engaging in abusive, deceptive and
 2   unfair practices and the Telephone Consumer Protection Act, 47 U.S.C. §277 et seq, (hereinafter
 3   “TCPA”) 3 which prohibits the making of unconsented to phone calls to cell phones.
 4              3.       Plaintiff makes these allegations on information and belief, with the exception of
 5   those allegations that pertain to Plaintiff, or to plaintiff’s counsel, which Plaintiff allege on
 6   personal knowledge.
 7              4.       While many violations are described below with specificity, this Complaint
 8   alleges violations of the statutes cited in their entirety.
 9                                           JURISDICTION AND VENUE
10              5.       This action arises out of Defendant’s violations of the FDCPA , Rosenthal Act
11   and TCPA.
12              6.       Jurisdiction arises pursuant to 28 U.S.C. ' 1391, 1337, 15 U.S.C. §1692(k)(d), and
13   47 U.S.C. §277 et seq. and 28 U.S.C.§1367 for supplemental state claims.
14              7.       Venue is proper in this Court pursuant to 28 U.S.C. ' 1391.
15                                                     THE PARTIES
16              8.       Plaintiff is a natural person residing in San Diego County, California.
17              9.       Plaintiff is a Aconsumer@ within the meaning of ' 1692a(3) in that he is a natural
18   person purportedly obligated to pay a credit card debt, allegedly owed to Citigroup, (hereinafter
19   “Debt”)
20              10.      Plaintiff is a “debtor” as that term is defined by §1788.2(h).
21              11.      Plaintiff is a “person” as defined by 47 U.S.C. §153(10).
22              12.      At all times relevant herein, Defendant, Allied was a company engaged, by use of
23   the mails and telephone in the business of collecting debts, as defined by §1692a(5), and
24   consumer debts as defined by § 1788.2(f). Allied regularly attempts to collect debts alleged to be
25   due another and is therefore a debt collector within the meaning of ' 1692a(6) and §1788.2(c).
26
     2
27       All undesignated section references to §1788 are to the Rosenthal Act
     3
28       All undesignated section references to 47 U.S.C. §277 are to the TCPA

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                                                          COMPLAINT
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 1          13.       As Allied does business in the state of California, and committed the acts that
 2   form the basis for this suit in the state of California, which includes using instrumentalities of
 3   interstate commerce by making phone calls across State boundaries to consumers residing in the
 4   Southern District of California, and by mailing letters to consumers in the Southern District of
 5   California, this Court has personal jurisdiction over Allied for purposes of this action.
 6                                      FACTUAL ALLEGATIONS
 7          14.       At all times herein, Defendant, was attempting to collect, from Plaintiff, a debt as
 8   defined by §1692a (5) of the FDCPA and a consumer debt as defined by § 1788.2(f) of the
 9   Rosenthal Act.
10          15.       Prior to August 25, 2011, Plaintiff allegedly fell behind in the payment allegedly
11   owed on the alleged debt. Plaintiff currently neither admits nor denies that the debt is valid.
12          16.       Prior to August 25, 2011, the alleged debt was assigned, placed or otherwise
13   transferred to Defendant for collection.
14          17.       Defendant has constantly and continuously placed collection calls to Plaintiff
15   seeking and demanding payment for an alleged debt with the intent to annoy, abuse and/or harass
16   him.
17          18.       The phone calls were communications within the meaning of '1692a(2).
18          19.       By engaging in this conduct the natural consequence being harassment and
19   oppression of the Plaintiff in connection with the collection of a debt, Defendant violated
20   '1692d.
21          20.       Beginning on or about August 26, 2011, and on multiple occasions since that
22   time, Defendant contacted Plaintiff on his cellular telephones via an “automatic telephone dialing
23   system,” as defined by 47 U.S.C. §227(a)(1).
24          21.       During these telephone calls Defendant used “an artificial or prerecorded voice”
25   as prohibited by 47 U.S.C. §227(b) (1) (A).
26          22.       These telephone calls constituted calls that were not for emergency purposes as
27   defined by 47 U.S.C. §227(b) (1) (A) (i).
28   ///
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                                                  COMPLAINT
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 1          23.     Plaintiff did not provide prior express consent to receive calls on her cellular
 2   telephone, pursuant to 47 U.S.C. §227(b) (1) (A).
 3          24.     These telephone calls by Defendant violated 47 U.S.C. §227(b) (1).
 4          25.     On and continuing thereafter for several months many of these phone calls were
 5   made to Plaintiff before 8 a.m. Pacific Standard Time.
 6          26.     Plaintiff was harmed by the acts of Defendant including but not limited to the
 7   following ways:
 8                  (a) Defendant calls to Plaintiff’s cellular phone caused Plaintiff to incur certain
 9                     cellular telephone charges or reduce cellular telephone time for which Plaintiff
10                     previously paid,
11                  (b) By calling him in the early morning while he was still asleep repeatedly and
12                     continuously with the intent to annoy, abuse and/or harass him caused him
13                     stress, anxiety, loss of sleep and resulting overall diminished abilities to carry
14                     on his activities of daily living.
15          27.     By communicating with Plaintiff before 8:00 a.m. Pacific Standard Time, a
16   presumptively and actually inconvenient time per '1692c(a)(1), Defendant violated
17   '1692c(a)(1)
18          28.     The communications were debt collections as defined in §1788.2(b).
19          29.     Because these communications violated the language in §1692c(a)(1), Defendant
20   also violated §1788.17 of the Rosenthal Act as it incorporates §1692c(a)(1).
21                                    FIRST CLAIM FOR RELIEF
22                                      (Violations of the FDCPA)
23          30.     Plaintiff repeats, re-alleges, and incorporates by reference all the allegations
24   contained in the paragraphs above.
25          31.     The foregoing acts and omissions constitute numerous and multiple violations
26   of the FDCPA, including but not limited to each and every one of the above cited provisions of
27   the FDCPA, 15 U.S.C. § 1692 et seq. As result of each and every violation of the FDCPA,
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                                                 COMPLAINT
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 1   Plaintiff is entitled to any actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages
 2   in an amount up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); reasonable attorney’s fees
 3   and costs pursuant to 15 U.S.C. § 1692k(a)(3) from defendant.
 4                                    SECOND CLAIM FOR RELIEF
 5                              (Claim for violations of the Rosenthal Act)
 6           32.    Plaintiff repeats, re-alleges, and incorporates by reference all the allegations
 7   contained in the paragraphs above.
 8           33.    Plaintiff is entitled to statutory damages of $1000.00 under §1788.17 of the
 9   Rosenthal act for Defendant violations, as enumerated above, of the FDCPA.
10           34.    Plaintiff is also entitled to attorney’s fees and costs for violations of the Rosenthal
11   §1788.30(c) of the Rosenthal Act.
12                                    THIRD CLAIM FOR RELIEF
13                 (Negligent Violations Of The Telephone Consumer Protection Act)
14           35.    Plaintiff incorporates by reference all of the above paragraphs of this Complaint
15   as though fully stated herein.
16           36.    The foregoing acts and omissions of Defendant constitute numerous and multiple
17   negligent violations of the TCPA, including but not limited to each and every one of the above-
18   cited provisions of 47 U.S.C. §227 et seq.
19           37.    As a result of Defendant’s negligent violations of 47 U.S.C. §227 et seq., Plaintiff
20   is entitled to an award of $500.00 in statutory damages for each and every violation, pursuant to
21   47 U.S.C. §227(b) (3) (B).
22           38.    Plaintiff is also entitled to and seeks injunctive relief prohibiting such conduct in
23   the future.
24                                    THIRD CLAIM FOR RELIEF
25                 (Negligent Violations Of The Telephone Consumer Protection Act)
26           39.    Plaintiff incorporates by reference all of the above paragraphs before his Third
27   Count for Relief as though fully stated herein.
28   ///
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                                                  COMPLAINT
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 1             40.         The foregoing acts and omissions of Defendant constitute numerous and multiple
 2   knowing and/or willful violations of the TCPA, including but not limited to each and every one
 3   of the above-cited provisions of 47 U.S.C. §227 et seq.
 4             41.         As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. §227 et
 5   seq., Plaintiff is entitled to an award of $1,500.00 in statutory damages for each and every
 6   violation, pursuant to 47 U.S.C. §227(b)(3)(B) and 47 U.S.C. §227(b)(3)(C).
 7                                             PRAYER FOR RELIEF
 8             WHEREFORE, Plaintiff prays that judgment be entered against Defendant, and for
 9   Plaintiff, and pray for the following relief:
10                   (1)         Assume jurisdiction in this proceeding;
11                   (2)         Declare that the Defendant violated the FDCPA;
12                   (3)         Declare that the Defendant violated the Rosenthal Act;
13                   (4)         Declare that the Defendant violated the TCPA;
14                   (5)         Award of actual damages in accordance with proof at trial, pursuant to
15                               §1692k(a)(1) of the FDCPA;
16                   (6)         Award of statutory damages of $1,000.00 pursuant to § 1692k(a)(2)(A) of
17                               the FDCPA;
18                   (7)         Award of statutory damages of $1,000.00 pursuant to § 1788.17 4 of the
19                               Rosenthal Act;
20                   (8)         Award of the costs of litigation and reasonable attorney’s fees, pursuant to
21                               §1692k (a) (3) of the FDCPA and § 1788.30(c) of the Rosenthal Act;
22                   (9)         Award of statutory damages of $1,500.00 for each and every knowing
23                               and/or willful violation of the TCPA, pursuant to 47 U.S.C. §227(b)(3)(B)
24                               and 47 U.S.C. §227(b)(3)(C)
25                   (10)        Award of statutory damages of $500.00 for each and every negligent
26                               violation of the TCPA, pursuant to 47 U.S.C. §227(b) (3) (B)
27
     4
28       § 1692k(a)(2)(A)of the FDCPA

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                                                      COMPLAINT
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 1                (11)     Such other and further relief this court may deem just and proper.
 2                                            TRIAL BY JURY
 3          42.      Pursuant to the seventh amendment to the Constitution of the United States of
 4   America, Plaintiff is entitled to, and demands, a trial by jury.
 5
 6                                                  Lester & Associates
 7   February 6, 2012                               s/Patric A. Lester
     Dated                                          By Patric A. Lester
 8                                                  Attorney for Plaintiff,
                                                    DREW HILL
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 2JS 44 (Rev. 12/07)
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                                                                              CIVIL COVER SHEET
 The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
 by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
 the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

 I. (a) PLAINTIFFS                                                                                              DEFENDANTS
DREW HILL,                                                                                                       ALLIED INTERNATIONAL CREDIT CORPORATION

      (b) County of Residence of First Listed Plaintiff               San Diego, California                     County of Residence of First Listed Defendant                Henrico County, Virginia
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                        NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
                                                                                                                               LAND INVOLVED.
                                                                                                                                                           '12CV0307 WQHJMA
      (c) Attorney’s (Firm Name, Address, and Telephone Number)                                                  Attorneys (If Known)

Patric A. Lester, 5694 Mission Center Road, #358,San Diego, CA
92108, Phone: (619) 665-3888
 II. BASIS OF JURISDICTION (Place an “X” in One Box Only)  III. CITIZENSHIP OF PRINCIPAL PARTIES(Place an “X” in One Box for Plaintiff
                                                                                                             (For Diversity Cases Only)                                         and One Box for Defendant)
 u 1     U.S. Government                  u 3 Federal Question                                                                        PTF         DEF                                          PTF      DEF
           Plaintiff                            (U.S. Government Not a Party)                           Citizen of This State         u 1         u 1      Incorporated or Principal Place      u 4     u 4
                                                                                                                                                           of Business In This State

 u 2     U.S. Government                  u 4 Diversity                                                 Citizen of Another State          u 2     u    2   Incorporated and Principal Place     u 5      u 5
           Defendant                                                                                                                                          of Business In Another State
                                                   (Indicate Citizenship of Parties in Item III)
                                                                                                        Citizen or Subject of a           u 3     u    3   Foreign Nation                       u 6      u 6
                                                                                                          Foreign Country
 IV. NATURE OF SUIT                       (Place an “X” in One Box Only)
           CONTRACT                                              TORTS                                    FORFEITURE/PENALTY                          BANKRUPTCY                     OTHER STATUTES
 u   110 Insurance                        PERSONAL INJURY                  PERSONAL INJURY              u 610 Agriculture                   u 422 Appeal 28 USC 158           u   400 State Reapportionment
 u   120 Marine                       u    310 Airplane                 u 362 Personal Injury -         u 620 Other Food & Drug             u 423 Withdrawal                  u   410 Antitrust
 u   130 Miller Act                   u    315 Airplane Product               Med. Malpractice          u 625 Drug Related Seizure                28 USC 157                  u   430 Banks and Banking
 u   140 Negotiable Instrument                 Liability                u 365 Personal Injury -               of Property 21 USC 881                                          u   450 Commerce
 u   150 Recovery of Overpayment      u    320 Assault, Libel &               Product Liability         u 630 Liquor Laws                     PROPERTY RIGHTS                 u   460 Deportation
        & Enforcement of Judgment              Slander                  u 368 Asbestos Personal         u 640 R.R. & Truck                  u 820 Copyrights                  u   470 Racketeer Influenced and
 u   151 Medicare Act                 u    330 Federal Employers’             Injury Product            u 650 Airline Regs.                 u 830 Patent                              Corrupt Organizations
 u   152 Recovery of Defaulted                 Liability                      Liability                 u 660 Occupational                  u 840 Trademark                   u   480 Consumer Credit
         Student Loans                u    340 Marine                    PERSONAL PROPERTY                    Safety/Health                                                   u   490 Cable/Sat TV
         (Excl. Veterans)             u    345 Marine Product           u 370 Other Fraud               u 690 Other                                                           u   810 Selective Service
 u   153 Recovery of Overpayment               Liability                u 371 Truth in Lending                      LABOR                     SOCIAL SECURITY                 u   850 Securities/Commodities/
         of Veteran’s Benefits        u    350 Motor Vehicle            u 380 Other Personal            u 710 Fair Labor Standards          u 861 HIA (1395ff)                        Exchange
 u   160 Stockholders’ Suits          u    355 Motor Vehicle                  Property Damage                 Act                           u 862 Black Lung (923)            u   875 Customer Challenge
 u   190 Other Contract                        Product Liability        u 385 Property Damage           u 720 Labor/Mgmt. Relations         u 863 DIWC/DIWW (405(g))                  12 USC 3410
 u   195 Contract Product Liability   u    360 Other Personal                 Product Liability         u 730 Labor/Mgmt.Reporting          u 864 SSID Title XVI              u   890 Other Statutory Actions
 u   196 Franchise                             Injury                                                        & Disclosure Act               u 865 RSI (405(g))                u   891 Agricultural Acts
        REAL PROPERTY                       CIVIL RIGHTS                 PRISONER PETITIONS             u 740 Railway Labor Act               FEDERAL TAX SUITS               u   892 Economic Stabilization Act
 u   210 Land Condemnation            u    441 Voting                   u 510 Motions to Vacate         u 790 Other Labor Litigation        u 870 Taxes (U.S. Plaintiff       u   893 Environmental Matters
 u   220 Foreclosure                  u    442 Employment                     Sentence                  u 791 Empl. Ret. Inc.                      or Defendant)              u   894 Energy Allocation Act
 u   230 Rent Lease & Ejectment       u    443 Housing/                    Habeas Corpus:                     Security Act                  u 871 IRS—Third Party             u   895 Freedom of Information
 u   240 Torts to Land                        Accommodations            u 530 General                                                             26 USC 7609                         Act
 u   245 Tort Product Liability       u    444 Welfare                  u 535 Death Penalty                   IMMIGRATION                                                     u   900Appeal of Fee Determination
 u   290 All Other Real Property      u    445 Amer. w/Disabilities -   u 540 Mandamus & Other          u 462 Naturalization Application                                              Under Equal Access
                                              Employment                u 550 Civil Rights              u 463 Habeas Corpus -                                                         to Justice
                                      u    446 Amer. w/Disabilities -   u 555 Prison Condition               Alien Detainee                                                   u   950 Constitutionality of
                                              Other                                                     u 465 Other Immigration                                                       State Statutes
                                      u    440 Other Civil Rights                                            Actions




 V. ORIGIN                  (Place an “X” in One Box Only)                                                                                                                                    Appeal to District
 u 1 Original            u 2 Removed from                    u 3 Remanded from                     u 4 Reinstated or u 5 Transferred  from
                                                                                                                         another district  u 6 Multidistrict                        u 7 Judge from
                                                                                                                                                                                        Magistrate
     Proceeding                 State Court                             Appellate Court                Reopened                                Litigation
                                                                                                                         (specify)                                                            Judgment
                                             Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                      15 U.S.C. § 1692, et seq
 VI. CAUSE OF ACTION Brief description of cause:
                      Fair Debt Collection Practices Act
 VII. REQUESTED IN   u CHECK IF THIS IS A CLASS ACTION     DEMAND $                                                                                     CHECK YES only if demanded in complaint:
      COMPLAINT:         UNDER F.R.C.P. 23            75,000.00                                                                                         JURY DEMAND:         ✔
                                                                                                                                                                             u Yes     u No
 VIII. RELATED CASE(S)
                                                (See instructions):
       IF ANY                                                           JUDGE                                                                   DOCKET NUMBER

 DATE                                                                       SIGNATURE OF ATTORNEY OF RECORD
  02/06/2012                                                              s/Patric A. Lester
 FOR OFFICE USE ONLY

     RECEIPT #                   AMOUNT                                        APPLYING IFP                                       JUDGE                           MAG. JUDGE
